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                             EXHIBIT 29
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                                                      916
                                                      J. Winer
                                                    7/13/2021
                                              Debra A. Dibble, RDR, CRR, CRC




CONFIDENTIAL                                                                   WAMYSA061345
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CONFIDENTIAL                                                WAMYSA061346
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                                     In the name of Allah, the Merciful, the Gracious

World Assembly of Muslim Youth                       [logo of the Assembly]                    ‫اﻟﻧد و ة اﻟﻌ ﺎﻟﻣ ﯾﺔ ﻟﻠﺷ ﺑﺎب اﻹ ﺳ ﻼ ﻣ ﻲ‬


Office of the Secretary General                                                No.: 6352………………….……………..
                                                                               Date: 19/11/1413 (May 11, 1993) ………

   His Royal Highness Prince: Salman bin Abdulaziz
   Prince of Riyadh Region
   Peace and mercy of Allah and his blessings may be upon you

   I have already submitted to Your Highness a report on the Benevolent Committee, the
   circumstances of its formation and part of its activities that took place during the past four
   years. This committee provided distinguished services during the Afghan Jihad in the medical,
   educational, relief and agricultural fields. It also contributed to alleviating the suffering of
   Muslims in other regions of the world, in Burma, Bosnia and Herzegovina and others. The
   committee is managed by a Board of Supervisors headed by the Secretary General of the
   assembly, and Executive Director, Sheikh Adel Batterjee.

   There have been some developments in the committee that I would like you—May Allah
   protect you—to be aware of. The former Executive Director of the Committee, Sheikh Adel
   Batterjee, worked hard and carried out some activities in Sudan and Bosnia and Herzegovina
   that were not approved by the Board of Supervisors. He also carried out some activities related
   to fundraising at home, which was questioned by officials in Mecca as well as the Ministry of
   the Interior. The Assembly’s Secretariat Council met and took the decision to review the
   committee’s activity and determine the reasons that led to some administrative abuses. A
   meeting of the Board of Supervisors followed, in which a decision was taken to appoint a new
   executive director and to remove Sheikh Adel Batterjee from managing the committee, with a
   strong focus on the committee's activity to be carried out in coordination with officials in the
   Kingdom and without conducting any work that goes against the satisfaction of the officials,
   even if there is an urgent need for it, such as the activity in Sudan or in Bosnia and Herzegovina,
   except after coordination with the High Authority for Fundraising for Muslims of Bosnia and
   Herzegovina, which you preside over.

   After several meetings, things developed and the current situation is as follows:
   1 - Sheikh Adel Batterjee no longer has any administrative connection with the Benevolent
   Committee, but has also resigned from the Board of Supervisors. I recently learned that he has
   formed a commission that he calls the "International Benevolent Organization.” It has offices in
   several countries abroad, and its logo is close to that of the Benevolent Committee. Its name
   also suggests this similarity. I wrote to him a letter in which I emphasized that the assembly is
   not responsible for this organization; and that the similarities in the two names should not be
   exploited to carry out any activity that the assembly might be considered liable for, as this
   organization has no legal presence inside the Kingdom (a copy of the letter is attached).


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                                                                   (٠١) ٤٦٤١٦٧٦ / ٤٦٤١٧١٠ ‫ ﻓﺎﻛس‬،‫ اﺳﻼﻣﻲ اس ﺟس‬٤٠٠٤١٣ / ٤٠٥٢٢٠ ‫ﺗﻠﻛس‬
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                                     In the name of Allah, the Merciful, the Gracious

World Assembly of Muslim Youth                       [logo of the Assembly]                    ‫اﻟﻧد و ة اﻟﻌ ﺎﻟﻣ ﯾﺔ ﻟﻠﺷ ﺑﺎب اﻹ ﺳ ﻼ ﻣ ﻲ‬


Office of the Secretary General                                                No.: [illegible] corresponds to 6352………
                                                                               Date: 19/11/1413 (May 11, 1993) ………


   2 - A temporary executive director of the Islamic Benevolent Committee has been appointed,
   Dr. Hassan Bahafez Allah, a Professor at King Abdulaziz University and a collaborator with the
   Muslim World League. He is known to the Relief Authority and others interested in Islamic work
   for his keenness to do good and his understanding and appreciation for the role of the Kingdom
   in this field; as well as his keenness to coordinate and be guided by the opinions of officials in
   our rational government so that only what serves the public interest by the directives of the
   officials is done.

   As a result of some follow-ups by the security authorities to Sheikh Adel Batterjee and the
   belief that he is still related to the Benevolent Committee, the committee is still receiving some
   questions, as well as some visits from security men. Rather, the current executive director, Dr.
   Hassan Bahafez Allah, was asked to sign non-fundraising obligation. As you know, the
   committee has obligations in Afghanistan, Burma and a number of regions that depend on Allah
   Almighty, then on the charitable contributions that come from the country of goodness.

   For all this, I present to Your Highness once again the following:
   1- Authorize the assembly, including the Benevolent Committee, to fundraise in public places
   and mosques, similar to the Relief Authority and other bodies that deliver the contributions of
   the Kingdom of Saudi Arabia, government and people, to Muslims in need around the world.

   2 - Admonish the security authorities not to interfere with the assembly or its committees,
   including the Benevolent Committee, and to contact the officials at the assembly when there is
   any inquiry or follow-up. We, in the assembly, are fully keen to abide by what you direct—May
   Allah protect you—and we seek nothing but first to serve our religion and our country, and
   second to help our Muslim brothers. All of this is done under your guidance and in coordination
   with you.

   May Allah guide you to what He loves and is pleased with and help you benefit Islam and
   Muslims.
   Peace and mercy of Allah and his blessings be upon you.

   Secretary General
   World Assembly of Muslim Youth
   Dr. Mana' bin Hammad Al-Juhani


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Saudi Arabia, Tel. (01) 4641669/4641663, Cable: ISLAMIYAH RIYADH   ‫ اﺳﻼﻣﯾﺔ اﻟرﯾﺎض‬:ً ‫ ﺑرﻗﯾﺎ‬،(٠١) ٤٦٤١٦٦٣ / ٤٦٤١٦٦٩ ‫ ھﺎﺗف‬،‫اﻟﻣﻣﻠﻛﺔ اﻟﻌرﺑﯾﺔ اﻟﺳﻌودﯾﺔ‬
                                                                   (٠١) ٤٦٤١٦٧٦ / ٤٦٤١٧١٠ ‫ ﻓﺎﻛس‬،‫ اﺳﻼﻣﻲ اس ﺟس‬٤٠٠٤١٣ / ٤٠٥٢٢٠ ‫ﺗﻠﻛس‬
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